       Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 1 of 6




             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
____________________________________
                                      )
GEORGIA COLLEGE OF EMERGENCY )
PHYSICIANS, et al.,                   )
                                      )
                Plaintiffs,           )
                                      )
          v.                          )    No. 1:21-cv-05267-MHC
                                      )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES, et al.,               )
                                      )
                Defendants.           )
____________________________________)


             NOTICE OF DISMISSAL WITHOUT PREJUDICE

      COME NOW, Plaintiffs, GEORGIA COLLEGE OF EMERGENCY

PHYSICIANS and BRETT CANNON, M.D. by and through their undersigned

counsel, and hereby move to dismiss all of their claims against the named

Defendants from the above-referenced action without prejudice.

      Respectfully submitted this 13th day of September, 2022.




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      Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 2 of 6




                                         HALL BOOTH SMITH, P.C.

                                         /s/ Brittany H. Cone
191 Peachtree Street, N.E.               BRITTANY H. CONE
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Email: jjohnson@hallboothsmith.com       Attorneys for Plaintiffs




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        Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 3 of 6




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                                      )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES, et al.,               )
                                      )
                Defendants.           )
____________________________________)

                      CERTIFICATE OF COMPLIANCE

      The foregoing PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT

PREJUDICE is double-spaced in 14 point Times New Roman font and complies

with the type-volume limitation set forth in Local Rules 7.1 and 5.1(C).


      Respectfully submitted this 13th day of September, 2022.




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      Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 4 of 6




                                         HALL BOOTH SMITH, P.C.

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       Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 5 of 6




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PHYSICIANS, et al.,                   )
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                                      )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES, et al.,               )
                                      )
                Defendants.           )
____________________________________)

                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE with the

Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to the following parties of record below, addressed as

follows:

                             BRIAN M. BOYNTON
                   Principal Deputy Assistant Attorney General

                               KURT R. ERSKINE
                              United States Attorney




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             Case 1:21-cv-05267-MHC Document 37 Filed 09/13/22 Page 6 of 6




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        Respectfully submitted this 13th day of September, 2022.


                                              HALL BOOTH SMITH, P.C.

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